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 8
                                   UNITED STATES DISTRICT COURT
 9                                      DISTRICT OF NEVADA
10
     Pamela Brown, Individually, and as Special     Case No. 2:20-cv-01814-CDS-DJA
11   Administratrix of the Estate of James
     Brown,
12
                     Plaintiffs,                        Stipulation to Extend Remaining
13                                                          Deadlines (Sixth Request)
            v.
14
      United States of America,
15
                     Defendant.
16

17          Pursuant to Local Rule 26-4 and Local Rule IA 6-1, the parties respectfully request

18 a 60-day extension of the remaining deadlines. This is the sixth request for an extension of

19 time.

20          A. Discovery completed to date

21          This is a complex medical malpractice wrongful death case. The parties have

22 provided disclosures, exchanged written discovery, including numerous medical records,

23 and subpoenaed multiple third parties. The parties have deposed the plaintiff, other family

24 members of the decedent, and three of the medical providers who treated the decedent. The

25 deadlines for amendment and to add parties have passed. The parties have closely

26 cooperated to move discovery forward.

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 1             B. Remaining Discovery

 2             The parties have completed fact witness depositions and written discovery. The

 3   main task remaining in discovery is conducting the expert witness deposition of Plaintiff’s

 4   expert, Dr. MacGregor.

 5             C. Reasons for Requested Extension

 6             Plaintiff’s expert, Dr. MacGregor has a demanding schedule and limited

 7   availability. The parties cooperated to find mutually agreeable dates for his deposition and

 8   scheduled it for November 4, 2022. Unfortunately, counsel for the United States’ father

 9   passed away on October 28, 2022, and he was required to cancel the deposition to attend

10   the funeral. Dr. MacGregor and Plaintiff’s counsel have been accommodating, but the

11   parties have been unable to find another date for the deposition within the discovery

12   period.

13             Given the approaching holidays and various scheduling conflicts, the parties

14   respectfully request an additional 60 days to complete Dr. MacGregor’s deposition. They

15   are seeking this extension in good faith and without purpose of delay.

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 1          D. Proposed revised discovery schedule

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 3                                        Current due date            Proposed due date
 4           Discovery Cut-Off            November 22, 2022           January 23, 2022
                                                                                  2023

 5           Dispositive Motions          December 27, 2022           February 27, 2023
                                                                                   2022
 6           Pre-Trial Order              January 23, 2022            March 20, 2022
                                                                                2023

 7

 8          Respectfully submitted this 21st day of November 2022.
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10   LAIRD LAW, PLLC                            JASON M. FRIERSON
                                                United States Attorney
11
     /s/ Danial Laird                           /s/ Troy K. Flake
12   DANIAL LAIRD                               TROY K. FLAKE
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     Las Vegas, NV 89147
14                                              Attorney for the United States
     Attorney for Plaintiff
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18                                               IT IS SO ORDERED.

19                                               _____________________________________
                                                 UNITED STATES MAGISTRATE JUDGE
20
                                                                11/23/2022
21                                               DATED: ______________________________

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